807 F.2d 175Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marvin RANDOLPH, Plaintiff-Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS;  Edward W. Murray,Acting Director;  R.A. Young, Regional Administrator;  DavidA. Garraghty, Warden;  W. Thompson, InstitutionalPsychiatrist;  C. Sydnor;  C/O Pinkney, Defendants-Appellees.
    No. 86-7236.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1986.Decided Nov. 24, 1986.
    
      Before WIDENER, CHAPMAN and WILKINS, Circuit Judges.
      Marvin Randolph, appellant pro se.
      Nelson H.C. Fisher, Office of the Attorney General, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Randolph v. Virginia Dept. of Corrections, C/A 86-0055-R (E.D.Va., July 25, 1986).
    
    
      2
      AFFIRMED.
    
    